                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                    CRIMINAL ACTION NO. 3:98-CR-00244-GCM-DSC
 UNITED STATES OF AMERICA

     v.                                                           ORDER

 REGINALD ANTHONY FALICE,

                  Defendant.


          THIS MATTER comes before the Court on Defendant Reginald Falice’s pro se Motion

to Vacate (ECF No. 371). In the motion, Falice appears to seek vacatur of the Court’s most recent

order, which granted the government’s motion to collect his restitution obligations from an inmate

trust account. See ECF No. 371 at 1 (alleging that the Court “rob[bed] and pilfer[ed] him”); ECF

No. 368. He also alleges that the Court lacked jurisdiction over the underlying criminal case against

him, reiterating a baseless argument that he has repeatedly made. See ECF No. 368.

          The motion will be denied as frivolous. To the extent that Falice seeks to attack his

underlying conviction, the Court will construe the motion as a successive 28 U.S.C. § 2255 motion,

and will dismiss that motion as unauthorized. See 28 U.S.C. § 2255(h) (requiring that the Circuit

Court authorize a second or successive § 2255 motion); United States v. Hayes, 352 F. Supp. 3d

629, 639 (W.D. Va. 2019).

          IT IS THEREFORE ORDERED that the Motion to Vacate (ECF No. 371) is DENIED.

          SO ORDERED.

                                                       Signed: December 17, 2021




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